460 F.2d 1281
    72-1 USTC  P 12,849
    Edward G. CHANDLER and Esther F. Born, as Executors of theWill of Mary E. Baum, Deceased, Plaintiffs-Appellees,v.The UNITED STATES of America, Defendant-Appellant.
    No. 26085.
    United States Court of Appeals,Ninth Circuit.
    May 17, 1972.
    
      Richard M. Roberts (argued), Meyer Rothwacks, Crombie J. D. Garrett, Benjamin M. Parker, Attys., Johnnie M. Walters, Asst. Atty. Gen., Washington, D. C., James L. Browning, Jr., U. S. Atty., Gary K. Shelton, Asst. U. S. Atty., San Francisco, Cal., for appellant.
      Robert R. Wood (argued), of Athern, Chandler &amp; Hoffman, San Francisco, Cal., for appellees.
      Before CARTER, WRIGHT and TRASK, Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal is from a district court judgment adverse to the United States in a federal estate tax refund case.  The question for decision is whether Series E United States Savings Bonds, purchased by the decedent in her own name and that of a co-owner, are taxable in her estate, where she had delivered them to the co-owner prior to her death with the intention of making an irrevocable inter vivos gift of them, but they had been neither redeemed or reissued by the co-owner prior to the death of the decedent.
    
    
      2
      For the reasons set out in the opinion of Judge Sweigert in 312 F.Supp. 1263 (N.D.Cal.1970), we hold that the bonds are not taxable in the estate of the decedent and affirm the judgment.
    
    